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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                       CASE NO. 21-60020-CR-DIMITROULEAS

         Plaintiff,

  vs.

  JONATHAN MARKOVICH, ET AL.,

        Defendant.
  _____________________________________/

                                           ORDER

         THIS CAUSE is before the Court on a Third Party (Totillo) Motion Asserting Crime

  Victims’ Rights [DE-408], and the Court having considered the motion and being otherwise fully

  advised in the premises, it is hereby

         ORDERED AND ADJUDGED that the Court will defer ruling to await a response from

  the Government and/or the defendants.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  13th day of December, 2021.




  Copies furnished to:

  Counsel of Record
